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A091 (Rev. 11/11) Criminal Complaint
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                                                                                                              L     I    LL.LJ
                                    UNITED STATES DISTRICT COURT
                                                                   forthe                                         OCT     302023
                                                      Western District of Texas                       CLERK. U.S. DlSRl/r COURT
                                                                                                      WESTERN DISTQ/TEXAS
                  United States of America                           )                                                    JEPUTV CLER(
                               v.                                    )
                                                                     )      Case No.
                     Santiago Ramirez
                                                                     )                 U2-23-2tW)fl'I
                                                                     )
                                                                     )
                                                                     )
                         Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of                 October 30, 2023                 in the county of              Maverick             in the
     Western          District of             Texas            ,   the defendant(s) violated:

             Code Section                                                      Offense Description
18 U.S.C. 933                                  It shall be unlawful for any person to ship, transport, transfer, cause to be
                                               transported, or otherwise dispose of any firearm to another person in or
                                               otherwise affecting commerce, if such person knows or has reasonable
                                               cause to believe that the use, carrying, or possession of a firearm by the
                                               recipient would constitute a felony as defined in section 932(a) or attempt or
                                               conspire to commit the conduct.

18 U.S.C. 554                                  Smuggling of goods from the United States.

         This criminal complaint is based on these facts:
On October 30, 2023, Santiago RAMIREZ, was intercepted at the Eagle Pass, Texas Port of Entry attempting to illegaly
export and traffick approx.189 firearms. Firearms were concealed in a non factory compartment within RAMIREZ'
enclosed box trailer. During a Post Miranda interview, RAMIREZ freely admitted to trafficking firearms to the country of
Mexico on two other occassions prior to this encounter.


         l   Continued on the attached sheet.



                                                                                                      inant'ssigntu
                                                                                       Darren Johnson, ATF Special Agent


Sworn to before me and signed in my presence.


Date:             10/30/2023


City and state:                         Del Rio, Texas                                          Watters, U.S. Magistrate Judge
                                                                                                rrentea name ana title
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                                                                                    PQ-z3 -297rii/


                                             ATTACHMENT A

        On October 30, 2023, at approximately 1:30 A.M. United States Customs and Border Protection (CBP)
Officers working outbound operations at the Eagle Pass, Texas Port of Entry, Bridge 2, encountered a black
Dodge Ram 1500 pickup truck with Alabama License Plates, hauling a white box (enclosed) trailer also
containing an Alabama License Plate. CBP Officers later identified the driver as Santiago Ramirez (hereinafter
RAMIREZ). CBP Officers instructed RAMIREZ to proceed to secondary inspection for CBP Officers to
inspect the Dodge Ram and box trailer.

        CBP Officers inspected the trailer and noted that the wall inside the box trailer had been tampered with.
CBP Officers X-rayed the box trailer and found what appeared to be firearms inside the back wall of the trailer.
CBP Officers searched the wall and found approximately one hundred and eighty-nine (189) firearms wrapped
in cellophane.

        CBP Officers contacted the Bureau of Alcohol, Tobacco, and Firearms (ATF) Special Agent Darren
Johnson and informed him of the firearms found inside the box trailer. ATF SA Johnson and ATF Task Force
Officer Erendira Vivanco interviewed RAMIREZ at the Eagle Pass, Texas Port of Entry, Bridge 2.

        After advisement of Miranda Rights and Waiver, RAMIREZ told ATF that he had been trafficking
firearms for a male subject known to him as "El Tio." RAMIREZ stated that he met "El Tio" in Oaxaca,
Mexico, and was offered $6,000.00 United States Dollars each time he trafficked firearms from the United
States to Mexico. RAMIREZ stated that he would transport the box trailer from Oaxaca, Mexico, cross into the
United States from the Eagle Pass, Texas Port of Entry, and drop off the box trailer in Dallas, Texas.

        RAMIREZ stated that he would leave the box trailer with persons unknown to RAMIREZ at a Super
Market parking lot in Dallas, Texas. RAMIREZ stated that the persons would load the box trailer with firearms,
conceal the firearms inside a false wall, and then return the box trailer with the firearms to RAMIREZ at the
Super Market. RAMIREZ stated that he would transport the box trailer back to Oaxaca, Mexico and then
transfer the box trailer with the concealed firearms over to "El Tio."

        RAMIREZ stated that he trafficked firearms for "El Tio" two times before. RAMIREZ stated that on
this current firearm trafficking attempt, he (RAMIREZ) purchased ten (10) of the firearms that were found
inside the box trailer. RAMIREZ stated that "El Tio" instructed him to purchase the 10 firearms in Dallas,
Texas and sent a male subject to give RAMIREZ the money to purchase the firearms. RAMIREZ stated that he
purchased four .22 caliber rifles on Tuesday, in Dallas, Texas for $2000.00 from a male subject at a gas station.
RAMIREZ also stated that he purchased the additional six, .22 caliber rifles from another male subject at a gas
station in Dallas, Texas for $3000.00.

        RAMIREZ stated that he did not have a license to export firearms from the United States into Mexico.
RAMIREZ stated that he knows "El Tio" cannot legally purchase firearms in the United States. RAMIREZ
stated that he knows it is illegal to traffic firearms into Mexico. RAMIREZ further stated that the manufacture
for a few of the .22 caliber rifles he purchased in Dallas, Texas was "Marlin."

       Preliminary examination of the one hundred and eighty nine firearms determined that the firearms were
all manufactured outside the state of Texas, and therefore affecting interstate commerce.
                Case 2:23-cr-03036-AM Document 1 Filed 10/30/23 Page 3 of 3




                                 October 30, 2023
Darren Johnson
Special Agent
Alcohol Tabacco Firearms



                                                    Sworn to beforfmeWd subscribs inthy presence,


                                                    Mafthi/'"
                                                    Unit States Magistrate Judge
                                                    Wes(ern District of Texas
